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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


        United States of America, et al.,

                                        Plaintiffs,
                                                           Case No. 1:20-cv-03010-APM
                       v.
                                                           HON. AMIT P. MEHTA
        Google LLC,
                                        Defendant.

                                                           FILED UNDER SEAL


        State of Colorado, et al.,

                                        Plaintiffs,
                                                           Case No. 1:20-cv-03715-APM
                       v.
                                                           HON. AMIT P. MEHTA
        Google LLC,
                                        Defendant.



  POSITION STATEMENT OF U.S. PLAINTIFFS’ REQUEST FOR THE COURT TO
                COMPEL DISCOVERY FROM APPLE, INC.

       In accordance with the Court’s August 13, 2021 Minute Order, Plaintiffs in United States

v. Google LLC (“U.S. Plaintiffs”) submit the following Position Statement on the status of

discovery with Apple, Inc. (“Apple”).

                                     POSITION STATEMENT

       U.S. Plaintiffs issued a subpoena to Apple on February 1, 2021. Apple’s compliance with

that subpoena has been deficient in both the scope and timing of its custodial document

productions, and the parties are now at an impasse.
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           I.       Introduction

           Apple’s role in this matter cannot be overstated. As Google’s most significant

distribution partner, Apple is a critical third party in this case. In exchange for default search

status on iPhones and other Apple products, Google pays Apple annual search revenues ranging

around $8-12 billion, which is 15 to 20 percent of Apple’s worldwide net income.1 Apple now

represents the majority of mobile device operating systems (approximately 60 percent),2 so the

exclusive Apple search contract, by itself, effectively closes off general search competitors from

about 60 percent of general search queries on mobile devices. Accordingly, Apple’s efforts to

delay and limit its production reverberate throughout the case.

           U.S. Plaintiffs seek an order directing Apple to (1) produce the documents identified as

producible by U.S. Plaintiffs’ 12 outstanding search strings, (2) complete its document

production by September 30, and (3) provide the codewords for the relevant products and issues

in the case that are necessary for U.S. Plaintiffs to ensure that Apple properly completes its

production responsibilities.

           First, the Court should order Apple to produce the documents requested by U.S. Plaintiffs

in 12 search strings.3 U.S. Plaintiffs have negotiated at length with Apple, reaching agreement on

33 search strings; the remaining 12 search strings cannot be narrowed any further without

depriving U.S. Plaintiffs of documents necessary to pursuing its case against Google. Apple has

provided no evidence, other than vague references to burden, for why U.S. Plaintiffs’ search


1
  Amended Complaint, ECF No. 94, at ¶ 118. See Mowat Const. Co. v. Dorena Hydro, LLC, No. 6:14-cv-00094,
2015 WL 13867691 (D. Or. May 18, 2015) (requiring production from a non-party “is especially appropriate given
that [the non-party] has a financial interest in the outcome of the case and there is no argument or evidence
indicating that the production of these materials will result in [the non-party] paying unreasonable discovery costs”).
2
 Mobile Operating System Market Share in United States Of America - July 2021, StatCounter GlobalStats (last
visited Aug. 17, 2021), https://gs.statcounter.com/os-market-share/mobile/united-states-of-america.
3
    See Ex. 1 (chart with outstanding search strings and hit counts).

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strings are objectionable. Apple has provided no data showing that documents hitting on the

terms in U.S. Plaintiffs’ search strings are non-responsive.

        Second, the Court should order Apple to complete its production by September 30. Apple

has produced fewer than 40,000 documents in six-and-a-half months and now estimates that it

will not conclude its document production until mid-November.4 Under that timing, after U.S.

Plaintiffs complete a reasonable review, depositions of Apple witnesses would not begin before

2022.

        Finally, the Court should order Apple to (a) immediately identify relevant codewords,

and (b) produce additional documents from strings that hit on those codewords within 30 days of

identification. During the six months Apple and U.S. Plaintiffs have been negotiating the

subpoena, Apple failed to disclose codewords used within the company. This failure undermined

the negotiations then taking place. Apple still contends these codewords are not relevant.

        II.      The Court Should Order Apple To Produce Documents Sought By U.S.
                 Plaintiffs In 12 Disputed Search Strings

        The Court should order Apple to produce the documents sought in the remaining 12

search strings on which U.S Plaintiffs and Apple have been unable to agree. After six months of

negotiation—an iterative process that has resulted in compromises on custodians, dates, and

search terms—the parties have agreed on 33 out of 45 search strings. Granting further

concessions would prejudice U.S. Plaintiffs from obtaining documents that are critical to the

presentation of its case.




4
 Ex. 3-O, Letter from K. Lent (Apple) to C. Sommer (DOJ) at 5 (Aug. 9, 2021). Page numbers in citations are to the
page numbers provided by ECF.
Apple has offered an earlier completion date of mid-October conditioned entirely on further concessions by U.S.
Plaintiffs. Id.

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Plaintiffs do not believe that further negotiation will be productive. More discussions will only

cause more delay. The Court has made it clear to U.S. Plaintiffs and Google that discovery must

proceed on schedule. Apple’s desire to extend negotiations is neither practical nor feasible.

           C.       U.S. Plaintiffs Negotiated Search Strings With Apple for Months And Reached
                    Reasonable Compromises

           The Court should reject any suggestion by Apple that U.S. Plaintiffs have been unwilling

to meet or compromise—indeed, such arguments are risible. Since the subpoena was issued, U.S.

Plaintiffs have engaged in approximately 25 meet and confers with Apple and sent more than 20

letters. In just three of those letters, U.S. Plaintiffs provided almost 50 pages of explanations for

subpoena requests and justifications for search string proposals. Indeed, U.S. Plaintiffs have

worked diligently to reduce any undue burden imposed on Apple by the subpoena.

           For example, Apple objected to the subpoena’s definition of “Relevant Product or

Services.” In response, U.S. Plaintiffs agreed not to pursue discovery on several products or

services unless necessary later.9 Apple characterized this as a “meaningful limitation” that would

enable Apple to “expeditiously move forward” with custodians, search terms, and a plan for

production.10

           Similarly, Apple objected to nearly every date in the subpoena; in response, U.S.

Plaintiffs explained the relevance of each date range.11 To resolve Apple’s remaining objections,

U.S. Plaintiffs acquiesced, agreeing that Apple would produce documents predating 2010 for

only five requests.12




9
    See Ex. 3-B, Letter from C. Sommer (DOJ) to K. Lent (Apple) at 4–6, 8 (Mar. 23, 2021).
10
     Ex. 3-C, Letter from S. Sunshine (Apple) to C. Sommer (DOJ) at 2 (Mar. 25, 2021).
11
     See Ex. 3-B, Letter from C. Sommer (DOJ) to K. Lent (Apple) at 3 (Mar. 23, 2021).
12
     Ex. 3-I, Letter from C. Sommer (DOJ) to K. Lent (Apple) at 2 (May 28, 2021).

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immediately refused to conduct custodial interviews or document pulls until it received Google’s

subpoena in mid-March. Next, Apple refused to begin custodian negotiations until the parties

reached total agreement on the subpoena’s scope.15 Apple’s stated position—that it would not

review a single custodial document until the entire search proposal was resolved—was intended

to create leverage on U.S. Plaintiffs, as Apple’s attorney explained. Apple did not begin

reviewing documents until threatened with Court involvement.

           At this time, Apple still has refused to tell U.S. Plaintiffs at what pace it is reviewing

documents. Apple’s statement that it will not complete production until mid-November is a black

box. Apple’s November proposal is unacceptable and creates precisely the challenges that Apple

likely intended when it refused to begin pulling and reviewing months earlier. The Court should

order Apple to complete production in a manner that will allow U.S. Plaintiffs to review the

documents and begin depositions this year.

           IV.      The Court Should Order Apple To Identify All Relevant Codewords

           The Court should order Apple to provide the codewords used within the company to refer

to projects, people, and other companies, so that those codewords may be included in the

searches of Apple’s documents. Apple has refused to identify all relevant codewords.

           Apple had a burden to provide a prompt and full list of codewords because, as the Court

has explained, for U.S. Plaintiffs to “figure out exactly what it needs and figure out what words

need to be used to get that information,” the producing party has to “do its homework to figure

out if there are code words or other types of particular lexicon or lingo that is particular to [the




15
     See Ex. 3-A, Letter from K. Lent (Apple) to C. Sommer (DOJ) at 3 (Mar. 8, 2021).

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producing party] and that . . . would capture this information, to make sure the Department of

Justice is aware of it.”16

           Apple has failed to meet this burden, and as a result, it is possible that many, if not all, of

the search strings the parties have negotiated are deficient. On three separate occasions in March

and April, U.S. Plaintiffs asked Apple to identify all codewords that were relevant to U.S.

Plaintiffs’ complaint and subpoena.17 During a meet and confer on May 13, Apple identified just

four codewords. For two-and-a-half months, as the parties negotiated search terms, U.S.

Plaintiffs relied on Apple’s representation that these were the only relevant codewords—tailoring

the search terms in reliance on Apple’s representation. In late July, however, after reviewing

some of Apple’s documents and publicly available information, U.S. Plaintiffs discovered that

Apple employees used codewords for other, plainly relevant terms, including codewords for

“Spotlight” (a search access point for Apple devices), “Safari” (Apple’s web browser), and “iOS

14” (the first Apple mobile operating system that allowed users to change browser defaults, e.g.,

from Safari to Chrome).

           After U.S. Plaintiffs raised these missing codewords to Apple, Apple admitted that it had

failed to identify them.18 Nevertheless, Apple has resisted both identifying further codewords and

reviewing documents that include codewords.19 Apple has justified its conduct by claiming that

employees stop using a codeword after the corresponding product or service has been launched.

But this is both incorrect and irrelevant. To the former, as just one example, U.S. Plaintiffs have


16
     Transcript of Feb. 25, 2021 Status Conference, ECF No. 113, at 38–39.
17
  Ex. 3-D, Letter from C. Sommer (DOJ) to K. Lent (Apple) at 4 (Mar. 29, 2021); Ex. 3-E, Letter from C. Sommer
(DOJ) to K. Lent (Apple) at 4 (Apr. 5, 2021); Ex. 3-F, Letter from C. Sommer (DOJ) to K. Lent (Apple) at 3 (Apr.
16, 2021).
18
     See Ex. 3-M, Letter from K. Lent (Apple) to C. Sommer (DOJ) at 4–5 (July 29, 2021).
19
  See id. at 2–3 (claiming that Apple had undertaken a codeword investigation and that Apple was “willing to
consider” and further investigate “as needed” any additional codewords that U.S. Plaintiffs provided).

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identified a document where Apple employees used a codeword six years after Apple launched

the related product. As to the latter, for purposes of discovery it does not matter if employees

stopped using a codeword—U.S. Plaintiffs seek documents created when the codewords were in

use.

           To resolve this issue without Court intervention, U.S. Plaintiffs asked Apple to (1) list all

relevant codewords; (2) explain the process Apple used to identify those codewords; and (3)

explain how Apple determined which codewords were relevant.20 Apple refused.

           U.S. Plaintiffs do not know the extent of Apple’s omission and cannot be confident

that—without including these codewords—Apple’s productions will return all relevant

documents. Accordingly, U.S. Plaintiffs ask the Court to order Apple to (1) provide codewords

for the words and terms listed in Exhibit 2,21 and then, (2) produce in 30 days any additional

documents resulting when the codewords are inserted into the existing search strings.

                                                 CONCLUSION

           For the foregoing reasons, the Court should order Apple to (1) produce the documents

requested by U.S. Plaintiffs in 12 search strings, (2) complete document production by

September 30, and (3) identify relevant codewords and then produce additional documents from

strings that hit on those codewords within 30 days of identification.


Dated: August 17, 2021

                                                        Respectfully submitted,

                                                        By: /s/ Kenneth M. Dintzer
                                                        Kenneth M. Dintzer
                                                        Jesús M. Alvarado-Rivera

20
     Ex. 3-L, Letter from C. Sommer (DOJ) to K. Lent (Apple) at 2 (July 27, 2021).
21
   Each request in Exhibit 2 is derived from terms that have been agreed upon in the parties’ search term
negotiations.

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                                 CERTIFICATE OF SERVICE


       I, Kenneth M. Dintzer, hereby certify that on August 17, 2021, I caused a true and correct

copy of the foregoing Position Statement of U.S. Plaintiffs’ Request for the Court to Compel

Discovery from Apple, Inc., with exhibits, to be served on Apple, Inc. by mailing the document

electronically to the duly authorized representatives of Apple, Inc. on this case.



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